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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                              BEAUMONT DIVISION

JOHN JOSLIN                                     §
      Plaintiff                                 §
                                                §
v.                                              §
                                                               CIVIL ACTION No. 1:22-cv-160
                                                §
COMBINED LAW ENFORCEMENT                        §
ASSOCIATIONS OF TEXAS                           §
      Defendant                                 §

                     PLAINTIFF’S FIRST AMENDED COMPLAINT

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW, JOHN JOSLIN (“Plaintiff”) and files this his, Plaintiff’s First Amended

Complaint, complaining of COMBINED LAW ENFORCEMENT ASSOCIATIONS OF

TEXAS (“CLEAT”), and/or COMBINED LAW ENFORCEMENT ASSOCIATIONS OF

TEXAS LEGAL SERVICE PLAN (“CLEAT LEGAL SERVICE PLAN”) collectively

hereinafter as (“Defendants”), and for cause of action, Plaintiff would respectfully show this

Honorable Court the following:

                              1. DISCOVERY CONTROL PLAN

1.     Plaintiff intends for discovery to be conducted under Level 3 of Rule 190 of the Texas

       Rules of Civil Procedure. This case involves complex issues and will require extensive

       discovery. Therefore, Plaintiff will ask the Court to order that discovery be conducted in

       accordance with a discovery control plan tailored to the particular circumstances of this

       suit.

                                           2. PARTIES

2.     Plaintiff John Joslin (“Plaintiff”) is Texas citizen residing in Liberty County, Texas.




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3.   Defendant Combined Law Enforcement Associations of Texas (“CLEAT”) is a Texas,

     for-profit corporation, licensed to do business and actually conducts business in the State

     of Texas and is deemed a Texas citizen. Said Defendant has appeared before this court and

     can be served by serving its attorney of record.

4.   Defendant Combined Law Enforcement Associations of Texas Legal Service Plan

     (“CLEAT Legal Service Plan”) is a Texas, for-profit corporation, licensed to do business

     and actually conducts business in the State of Texas and is deemed a Texas citizen. Said

     Defendant may be served by serving its attorney of record, Manuel Quinto-Pozos by

     electronic mail.

                                      3.      JURISDICTION

5.   The Court has jurisdiction over this cause of action because the amount in controversy is

     within the jurisdictional limits of the Court. Plaintiff recognizes that the amount of

     damages are with the discretion of the jury and this Honorable Court. Plaintiff pleads a

     specific amount of damages or face punitive measures including, inter alia, the inability to

     proceed with this case and discovery, Plaintiff seeks monetary relief over $1,000,000.

     Plaintiff reserves the right to amend this petition during and/or after the discovery process,

     or upon trial of this case.

6.   This court has personal jurisdiction, both specific and general, over the Defendant because

     Defendant is a corporation that directed their acts and/or omissions to the State of Texas

     including, inter alia, those alleged herein. Moreover, this Defendant committed acts and/or

     omissions within the State of Texas, including directed their activities within the State of

     Texas such that they can reasonably anticipate being haled into Texas courts. Additionally,

     Defendant is essentially at home in the State of Texas. Defendant is a corporation formed


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     under the laws of the State of Texas and is deemed a Texas citizen, and Texas courts’

     assertion of jurisdiction over this Defendant does not offend the notions of fair play and

     substantial justice, and Defendant could reasonably anticipate being haled into Texas court.

     Defendant has systematic and continuous contacts within the State of Texas and, moreover,

     the specific acts and/or omissions at issue in this lawsuit occurred within the State of Texas.

     Defendant is a Texas corporation and deemed a Texas citizen. Moreover, Plaintiff

     purchased a service from Defendant in Jefferson County, Texas.

                                           4.   VENUE

7.   Venue is proper in Jefferson County, Texas, pursuant to TEXAS CIVIL PRACTICES             AND

     REMEDIES CODE SECTION 15.002(a)(1) because all or a substantial part of the events or

     omissions giving rise to the claim occurred in Jefferson County, Texas; venue is further

     proper in Jefferson County, Texas, pursuant to TEXAS CIVIL PRACTICES          AND   REMEDIES

     CODE SECTION 15.033 since call or a substantial part of the events or omissions giving rise

     to the claim occurred in Jefferson County, Texas and/or Jefferson County is the county in

     which the Plaintiff resided at the time the cause of action accrued. Specifically, Plaintiff

     entered the relevant contract with CLEAT while in Jefferson County, Texas.

                                            5. FACTS

8.   Paragraphs one (1) through seven (7) are incorporated by reference.

9.   CLEAT and/or CLEAT LEGAL SERVICE PLAN is the largest police labor

     organization in the state. CLEAT and/or CLEAT LEGAL SERVICE PLAN is engaged

     in the business of selling goods and services that “ensure members’ rights and interests are

     protected by providing exceptional legal representation, legislative and political power,




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          assistance in labor negotiations, and leadership or association development”—as

          advertised on CLEAT’s own website:




                                                      1



          CLEAT further advertises its services as follows:

                  “Ensure that you, as a CLEAT member and Texas Peace
                  Officer, receive the professional respect, employment rights,
                  and legal protections you deserve.

                  After all, your role in enforcing the laws and protecting the lives
                  and property of citizens is the most important, fundamental job
                  in Texas.

                  CLEAT has a rich history of relentlessly fighting to ensure that
                  all Texas law enforcement professionals:

                  Realize the full extent of your legal, political and employment
                  rights,
                  Work under conditions that permit the job to be done safely and
                  effectively, and
                  Earn fair compensation for the critically important work that
                  you do and the sacrifices made daily by your family

                  CLEAT provides legal representation, lobbying, and legislative
                  representation, local political action, collective bargaining and
                  negotiations support, and a range of field-related services. With
                  more than 26,000 members across the state, CLEAT is the
                  largest police officers’ union in Texas, the largest legal services
                  provider in Texas specializing in representing law enforcement

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    See CLEAT’s website: Mission & History - CLEAT.
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                 officers, and the largest alliance of local police officers’
                 associations in Texas.




                                               2

          Finally, CLEAT and/or CLEAT LEGAL SERVICE PLAN acknowledges own its

          website, when members of CLEAT and/or CLEAT LEGAL SERVICE PLAN contact

          them, its because legal representation is needed:




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    Id.
                                                                                Page 5
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                                                                                               3




10.       Plaintiff, a member of the CLEAT and/or CLEAT LEGAL SERVICE PLAN

          organization, purchased a membership from CLEAT and/or CLEAT LEGAL SERVICE

          PLAN for the purpose of obtaining all the advertised and promised benefits associated with

          a CLEAT and/or CLEAT LEGAL SERVICE PLAN membership—including legal

          representation and services. In exchange for the purchase of a membership, Defendant was

          to provide Plaintiff with legal services among other services as advertised on CLEAT

          and/or CLEAT LEGAL SERVICE PLAN’s website. Plaintiff purchased this

          membership, faithfully paying his monthly dues (as he has done for over twenty years) in

          exchange for the services and benefits CLEAT and/or CLEAT LEGAL SERVICE

          PLAN promised to provide.

11.       On February 3, 2020, Plaintiff was indicted for official oppression. Plaintiff’s indictment

          arose from actions during the course and scope of his employment as a police officer. These

          charges were ultimately dismissed, but not before Plaintiff incurred significant legal fees.




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    Id.
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      As part of Plaintiff’s purchased membership with CLEAT and/or CLEAT LEGAL

      SERVICE PLAN, these charges would be defended by CLEAT and/or CLEAT LEGAL

      SERVICE PLAN. That is, CLEAT and/or CLEAT LEGAL SERVICE PLAN would

      pay Plaintiff’s incurred legal fees per the services of the membership with CLEAT and/or

      CLEAT LEGAL SERVICE PLAN.                  Despite being contractually obligated to pay

      Plaintiff’s attorney’s fees in connections with this indictment, CLEAT and/or CLEAT

      LEGAL SERVICE PLAN has failed to do so. To date, Plaintiff’s attorney’s fees have not

      been paid, nor has CLEAT and/or CLEAT LEGAL SERVICE PLAN even attempted

      to discuss a resolution of the matter.

12.   At all times pertinent hereto, Plaintiff relied on the representations of Defendant that the

      relevant legal services would be provided to Plaintiff as promised and in exchange for the

      purchase of his membership. Furthermore, Plaintiff relied on Defendant to warranty or

      otherwise ensure he would receive the purchased legal services, and that Defendant act

      with ordinary prudence (and not negligence) to ensure Plaintiff received his purchased

      services.

13.   If Defendants had not misrepresented that Plaintiff would receive the relevant legal

      services in exchange for a CLEAT and/or CLEAT LEGAL SERVICE PLAN

      membership, Plaintiff would not have purchased the membership, nor would he have

      experienced all these customer problems in Jefferson County, Texas. Plaintiff suffered

      harm as a result of Defendant’s representations. Plaintiff pleads for negligence per se and




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      other Texas laws related to this finding. Plaintiff is within the class to be protected by these

      and other laws.

14.   Each one of the representations, as described above, was made by Defendants recklessly

      and/or negligently, without any knowledge of their truth as a positive assertion.

15.   From the time that Defendant made these representations (directed toward Jefferson

      County, Texas), as described above, Plaintiff believed them to be true as positive assertions

      made by persons with knowledge of their truth. Specifically, Plaintiff believed that he

      would receive, and CLEAT and/or CLEAT LEGAL SERVICE PLAN would provide,

      legal services in exchange for his CLEAT and/or CLEAT LEGAL SERVICE PLAN

      membership and there were no issues with the services, nor CLEAT and/or CLEAT

      LEGAL SERVICE PLAN’s abilities to provide the promised services. Plaintiff relied, to

      his detriment, on Defendant’s reckless and/or negligent misrepresentations.

16.   But for the reckless and/or negligent misrepresentations of Defendant, Plaintiff would not

      have acted as he did—namely, purchasing the membership and accompanying services

      from Defendant.

17.   Accordingly, Defendant is liable to Plaintiff for breach of contract, negligence, intentional

      and/ or knowing violations of the Texas Deceptive Trade Practices Act (“DTPA”),

      fraudulent misrepresentation, breach of express and implied warranties, and negligent

      misrepresentation as more fully set forth below.

18.   Defendant wrongly represented to Plaintiff the characteristics of the membership and

      services. Specifically, Defendant misrepresented to Plaintiff that the membership and

      services were available, and more specifically, legal representation would be provided to

      Plaintiff following the purchase of the CLEAT and/or CLEAT LEGAL SERVICE


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      PLAN membership, which Plaintiff complied with. Defendant’s conduct constitutes a

      violation of the DTPA. TEX. BUS. & COM. CODE ANN. §17.46(b)(5).

19.   Defendant wrongly represented to Plaintiff the condition of membership and services.

      Specifically, Defendant misrepresented to Plaintiff that the membership and services were

      available to Plaintiff, or at least, available within a reasonable amount of time following

      the purchase of the membership and accompanying services. Defendant’s conduct

      constituted a violation of the DTPA. TEX. BUS. & COM. CODE ANN. §17.46(b)(6).

20.   Defendant wrongly represented to Plaintiff the standards and quality of the membership

      and services. Specifically, Defendant misrepresented to Plaintiff that the membership and

      services contained no defects or conditions that would prohibit Plaintiff from receiving the

      services he has faithfully purchased for over twenty (20) years. But for the representations

      that Plaintiff would receive full legal services and a CLEAT and/or CLEAT LEGAL

      SERVICE PLAN membership, Plaintiff would not have purchased a CLEAT and/or

      CLEAT LEGAL SERVICE PLAN membership.

21.   Defendant falsely advertised the condition of the membership and services. Specifically,

      Defendant advised Plaintiff the membership and services contained no defects or

      conditions that would prohibit Plaintiff from receiving the services he purchased. However,

      Defendant’s conduct constitutes a violation of the DTPA. TEX. BUS. & COM. CODE ANN.

      §17.46(b)(9).

22.   Defendant failed to disclose material facts to Plaintiff, which were known at the time of

      the transaction, to induce Plaintiff into purchasing the membership and services.

      Defendant’s conduct constitutes a violation of the DTPA. TEX. BUS. & COM. CODE ANN.

      §17.46(b)(24).


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23.   Defendant knowingly or recklessly made false representations, as described above, as to

      material facts and/or knowingly concealed all or part of material information from Plaintiff.

24.   Defendant made the representations, as described above, in the course of their business of

      selling memberships and legal services in the course and scope of their business and held

      themselves out as capable of adequately providing legal services that will adequately

      defend Plaintiff. Plaintiff used this information in justifiable reliance in purchasing the

      membership and services.

25.   As a result of Defendant’s wrongful acts and omissions, Plaintiff was forced to retain the

      professional services of the attorney and law firm who are representing him with respect

      to these causes of action.

                                    6. CAUSES OF ACTION:

26.   Paragraphs one (1) through twenty-four (24) are incorporated by reference.

27.   Defendant CLEAT and/or CLEAT LEGAL SERVICE PLAN is liable to Plaintiff for

      intentional and/or knowing violations of the Texas DTPA, fraud and fraudulent

      misrepresentation, negligent misrepresentation, breach of warranty, manufacturing defects

      and negligence, general negligence, gross negligence, and breach of contract.

        7. NONCOMPLIANCE WITH TEXAS DECEPTIVE TRADE PRACTICES
                       CONSUMER PROTECTION ACT
28.   Paragraphs one (1) through twenty-eight (26) are incorporated by reference.

29.   Defendant’s conduct constitutes multiple violations of the Texas Deceptive Trade Practices-

      Consumer Protection Act (“DTPA”). TEX. BUS. & COM. CODE §17.41-17.63. All violations

      of this chapter are made actionable by TEX. BUS. & COM. CODE §17.50(a)(1).

30.   Defendant’s misrepresentations, as described above, that goods and services have

      sponsorship, approval, characteristics, ingredients, uses, benefits, or quantities which they do

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      not have, or that a person has sponsorship, approval, status, affiliation, or connection which

      he or she does not, constitutes a false, misleading, or deceptive act or practice. TEX. BUS. &

      COM. CODE §17.46(b)(5).

31.   Defendant’s misrepresentations, as described above, that goods and services are original or

      new when they are deteriorated, reconditioned, reclaimed, used, or secondhand constitutes a

      false, misleading, or deceptive act and practice. TEX. BUS. & COM. CODE §17.46 (b)(6).

32.   Defendant’s misrepresentations, as described above, that goods and services are of a particular

      standard, quality, or grade, or that goods are of a particular style or model, when they are of

      another, constitutes a false, misleading, or deceptive act and practice. TEX. BUS. & COM.

      CODE §17.46 (b)(7).

33.   Defendant’s advertisement of their goods and services, as described above, with intent not to

      sell them as advertised, constitutes a false, misleading, or deceptive act and practice. TEX.

      BUS. & COM. CODE §17.46(b)(9).

34.   Defendant’s failure to disclose information concerning goods or services, as described above,

      which was known at the time of the transaction, and which was intended to induce Plaintiff

      into a transaction into which Plaintiff would not have entered had the information been

      disclosed, constitutes a false, misleading, or deceptive act and practice. TEX. BUS. & COM.

      CODE §17.46(b)(24).

35.   Defendant’s conduct violates other provisions of the DTPA to be specified after an adequate

      time for discovery has elapsed, or at the time of trial.

                 8. FRAUD AND FRAUDULENT MISREPRESENTATION

36.   Paragraphs one (1) through thirty-five (35) are incorporated by reference.

37.   Defendant’s conduct constitutes fraud and fraudulent misrepresentation in the State of Texas.


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38.   Defendant made representations to Plaintiff, as described above, which were false statements

      of fact, and were material to the transaction. Among other misrepresentations, Defendant

      represented to Plaintiff that the membership and accompanying services would be provided

      to Plaintiff, following the purchase of the membership and services. To date, Plaintiff has not

      received legal representation nor reimbursement for fees incurred for same.

39.   In making these representations, Defendant knew the representations were false, or acted with

      reckless disregard of the truth or falsity of the representations.

40.   Defendant intended Plaintiff to act on the representations, and Plaintiff relied on the false

      representations in seeking to obtain what Plaintiff thought was legal services and membership,

      which was never provided to Plaintiff, despite having paid necessary membership dues for

      over twenty (20) years, which caused Plaintiff to suffer damages.

              9. NEGLIGENT MISREPRESENTATION, NEGLIGENCE, AND
                             GROSS NEGLIGENCE

41.   Paragraphs one (1) through forty (40) are incorporated by reference.

42.   Defendant’s conduct constitutes a tort for negligent misrepresentation in the State of Texas

43.   Defendant made a representation to Plaintiff, as described above, in the course of Defendant’s

      business or in a transaction in which Defendant had an interest. Defendant acts herein were

      negligent and/or grossly negligent, and proximately caused Plaintiff damages.

44.   In making these representations, Defendant supplied false information for the guidance of

      Plaintiff.   Defendants did not exercise reasonable care or competence in obtaining or

      communicating the information on which Plaintiff justifiably relied. Defendant’s negligent

      misrepresentations proximately caused Plaintiff’s injury.

45.   For all acts outlined in this petition and to be outlined at the time of trial, Plaintiff affirmatively

      pleads causes of action for not only negligence (see section 11 below), but for gross
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      negligence against Defendant. Defendant’s acts and/or omissions in this petition amounted

      to gross negligence, for which Plaintiff affirmatively sues.

                                       10. NEGLIGENCE

45.   Paragraphs one (1) through forty-four (44) are incorporated by reference.

46.   Defendant’s conduct constitutes a tort for negligence in the State of Texas.

47.   Defendant was negligent and breached their duty of care to Plaintiff, as described above,

      in the course of Defendant’s business or in a transaction in which Defendant had an interest.

      Defendant’s acts herein were negligent and proximately caused the Plaintiff’s injury.

48.   In committing these negligent acts, Defendant breached their duty of care to Plaintiff by

      failing to exercise reasonable care or competence in advertising and selling memberships

      and legal services.

49.   Defendant was negligent in multiple ways in causing Plaintiff’s injuries made the basis of

      this lawsuit including, but not limited to, the following:

      (1)     failing to properly advertise its services;

      (2)     failing to properly provide its services as advertised;

      (3)     in negligently failing perform Plaintiff’s purchased services;

      (4)     failing to properly train employees to perform or supervise the foregoing;

      (5)     failing to supervise employees to ensure Plaintiff’s purchased services were of
              like quality, standard, or grade and/or as represented; and

      (6)     in other acts of omission and/or commission to be specified at a later date at the
              time of trial.

50.   As a result of Defendant’s negligence and/or the foregoing acts and / or omissions, Plaintiff

      has sustained substantial damages, resulting in the elements of damages set forth in this

      petition and others to be specified at the time of trial.


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                                            11. FRAUD

51.   Paragraphs one (1) through fifty (50) are incorporated by reference.

52.   Defendant is liable to Plaintiff for common law fraud.

53.   Defendant stated that the membership and services being purchased by Plaintiff contained

      no defects or problems which would prevent Plaintiff from receiving the benefits and services

      associated with a CLEAT and/or CLEAT LEGAL SERVICE PLAN membership

      following the payment of membership dues. This was only one of the many material

      representations that was made to Plaintiff by Defendant, others to be specified later after

      an adequate time for discovery or at the time of trial.

54.   Each and every one of the representations, as described above, concerned material facts for

      the reason that absent such representations, Plaintiff would not have acted as it did, and

      which Defendant knew were false or made recklessly without any knowledge of their truth

      as a positive assertion.

55.   The statements were made with the intention that they should be acted upon by Plaintiff,

      who in turn acted in reliance upon the statements, thereby causing Plaintiff to suffer

      damages and constituting common law fraud.

       12. BREACH OF EXPRESS AND IMPLIED WARRANTIES AND DEFECTS

56.   Paragraphs one (1) through fifty-five (55) are incorporated by reference.

57.   Defendant is liable to Plaintiff for breaches of warranties. The membership and services

      are consumer services, and a substantial part of the events or omissions giving rise to this

      claim occurred in Jefferson County, Texas and, at the time this cause of action arose,

      Plaintiff lived, and purchased the membership and services in Jefferson County, Texas.




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58.   Defendant sold services to Plaintiff. Defendant made representations to the Plaintiff about

      the quality or characteristics of the services in one of the following ways:

      (1) By affirmation of fact;

      (2) By promise; or

      (3) By description.

59.   Defendant’s representations became part of the basis of the bargain.

60.   Defendant breached the warranties and/or was negligent in its manufacture, sale, design,

      or maintenance and or performing their end of the bargain regarding the purchased

      membership and services, as well the improper delivery of these services (after purchase).

61.   Plaintiff notified Defendant of the breach, and/or Defendants had awareness of the breach.

      Specifically, Plaintiff sent several emails to Defendant’s employees, agent, or servants.

      Plaintiff informed CLEAT and/or CLEAT LEGAL SERVICE PLAN employee(s) that

      he needed legal representation, for charges arising out of actions during Plaintiff’s course

      and scope of employment, which were ultimately denied.

62.   Plaintiff suffered damages from Defendant’s breaches of express, implied, and other

      warranties (as well as for negligent manufacture and maintenance) available under Texas

      law.

                                    13.    KNOWLEDGE

63.   Paragraphs one (1) through sixty-two (62) are incorporated by reference.

64.   Each of the acts described above, together and singularly, was done “knowingly,” as that

      term is used in the Texas Business and Commerce Code and other Texas law and was a

      producing cause of Plaintiff’s damages described herein.




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                                          14.       INTENT

65.   Paragraphs one (1) through sixty-four (64) are incorporated by reference.

66.   Each of the acts described above, together and singularly, was done not only negligently

      and/or grossly negligently, but “intentionally,” as that term is used in the Texas Business

      and Commerce Code and other Texas law and was a producing cause of Plaintiff’s damages

      described herein.

                                        15.     DAMAGES

67.   Plaintiff would show that all of the aforementioned acts, taken together or singularly,

      constitute the producing causes of the damages sustained by Plaintiff.

68.   For breach of contract, Plaintiff is entitled to regain the benefit of his bargain, which is the

      amount of its claim, together with attorney’s fees.

69.   For noncompliance with the Texas Deceptive Trade Practices Act-Consumer Protection

      Act, Plaintiff is entitled to economic damages, which include the amount of the benefits

      wrongly withheld. For knowing conduct violations, with regard to these breaches of duty,

      Plaintiff asks for three times its economic damages. For intentional conduct violations,

      with regard to these breaches of duty, Plaintiff is entitled to its economic damages, and

      Plaintiff asks for three times its amount of economic damages. Plaintiff is also entitled to

      court costs and attorney’s fees. TEX. BUS. & COM. CODE ANN. §17.50(b)(1).

70.   For negligent misrepresentations, Plaintiff is entitled to actual damages and exemplary

      damages, along with court costs, interest, and attorney’s fees.

71.   For fraud and fraudulent misrepresentations, Plaintiff is entitled to actual damages and

      exemplary damages for knowing fraudulent and malicious representations, along with

      attorney’s fees, interest, and court costs.


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72.   For breach of the common law duty of good faith and fair dealing, Plaintiff is entitled to

      compensatory damages, including all forms of loss resulting from Defendant’s breach of

      duty, such as additional costs, economic hardship, losses resulting from the transaction,

      exemplary damages, and damages for emotional distress.

73.   For fraud, Plaintiff is entitled to recover actual damages and exemplary damages for

      knowingly fraudulent and malicious representations, along with attorney’s fees, interest,

      and court costs.

74.   For breach of warranties and negligent manufacture / defect, Plaintiff is entitled to recover

      actual damages, interest, court costs, attorney’s fees, treble damages, and other damages.

75.   For all causes of action that permit recovery of exemplary and/or punitive damages,

      including any gross negligence, intentional, treble, or other knowing violations, Plaintiff

      seeks those punitive or treble damages.

76.   For the prosecution and collection of this claim, Plaintiff has been compelled to engage the

      services of the attorney whose name is subscribed to this pleading. Therefore, Plaintiff is

      entitled to recover a sum for the reasonable and necessary services of Plaintiff’s attorneys

      in the preparation and trial of this action, including any appeals to the Court of Appeals

      and/or the Supreme Court of Texas.

                     16. MANADATORY JURISDICTIONAL AMOUNT

77.   The damages to be awarded herein is a matter lying largely, if not entirely, within the

      discretion of the finder of fact and based on the evidence as presented. However,

      TEX.R.CIV.P. 47 forces Plaintiff to plead a specific amount of damages or suffer

      consequences for not pleading any amount. Accordingly, and recognizing that any amount



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        rests within the discretion of the finder of fact, Plaintiff would show that it seeks monetary

        relief in the sum of at least one million dollars ($1,000,000.00).

                                      17.     JURY DEMAND

78.     Plaintiff hereby requests that all causes of action alleged herein be tried before a jury

        consisting of citizens residing in Jefferson County, Texas. Plaintiff hereby tenders the

        appropriate jury fee.

                        18.     NOTICE OF SELF-AUTHENTICATION

79.     Pursuant to Rule 193.7 of the Texas Rules of Civil Procedure, this is the actual written

        notice to you that all documents produced in this litigation shall be used by the Plaintiff at

        pretrial proceedings and trial. Hence, all documents produced in this litigation are deemed

        self-authenticating for use in any pretrial proceeding or at trial; and any objections thereto

        by the Defendant shall be in writing or placed on the record, giving Plaintiff a reasonable

        opportunity to establish the challenged document’s authenticity.

                                              PRAYER

        WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that upon trial hereof, said

Plaintiff have and recover such sums as would reasonably and justly compensate it in accordance

with the rules of law and procedure, as to actual damages, treble damages under the Texas

Deceptive Trade Practices Act, and all punitive and exemplary damages as may be found. In

addition, Plaintiff requests the award of attorney’s fees for the trial and any appeal of this case, for

all costs of Court on her behalf expended, for prejudgment and post-judgment interest as allowed

by law, and for any other and further relief, either at law or in equity, to which it may show itself

justly entitled.




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                                   Respectfully submitted,


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                                   By: _____________________________
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                                   ATTORNEYS FOR PLAINTIFF




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                              CERTIFICATE OF SERVICE

       I hereby certify a true and correct copy of the foregoing instrument was served on
counsel of record on this the 1st day of July 2022, in accordance with the Federal Rules of
Civil Procedure.



                                     /s/ Layne Walker
                                     Layne Walker Jr.




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